       Case: 23-10718    Document: 212         Page: 1   Date Filed: 11/16/2023




                                     No. 23-10718
                   IN THE UNITED STATES COURT OF
                   APPEALS FOR THE FIFTH CIRCUIT

 Jennifer VanDerStok; Michael G. Andren; Tactical Machining, L.L.C., a limited
     liability company; Firearms Policy Coalition, Incorporated, a nonprofit
                                  corporation,
                                                  Plaintiffs-Appellees,
  Blackhawk Manufacturing Group, Incorporated, doing business as 80 Percent
Arms; Defense Distributed; Second Amendment Foundation, Incorporated; Not An
        L.L.C., doing business as JSD Supply; Polymer80, Incorporated,
                                                Intervenor Plaintiffs-Appellees,

                                          v.

 Merrick Garland, U.S. Attorney General; United States Department of Justice;
 Steven Dettelbach, in his official capacity as Director of the Bureau of Alcohol,
 Tobacco, Firearms and Explosives; Bureau of Alcohol, Tobacco, Firearms, and
                                     Explosives,
                                                    Defendants-Appellants.

                On Appeal from the United States District Court
                      for the Northern District of Texas

            PLAINTIFFS-APPELLEES’ JOINT MOTION FOR
             IMMEDIATE ISSUANCE OF THE MANDATE

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Supply                                     Firearms Policy Coalition, Inc.

                     Additional Counsel Listed on Next Page
      Case: 23-10718    Document: 212    Page: 2   Date Filed: 11/16/2023




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        Case: 23-10718     Document: 212       Page: 3   Date Filed: 11/16/2023




                 CERTIFICATE OF INTERESTED PERSONS
                       VanDerStok v. Garland, No. 23-10718
      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.

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                                           i
       Case: 23-10718     Document: 212        Page: 4   Date Filed: 11/16/2023




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                                          ii
        Case: 23-10718     Document: 212        Page: 5   Date Filed: 11/16/2023




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  Alcohol, Tobacco, Firearms, and
  Explosives                            U.S. DEPARTMENT OF JUSTICE

Bureau of Alcohol, Tobacco, Firearms,
 and Explosives

       Attorneys whose names are denoted with an asterisk entered appearances in

the district court but have not entered appearances in the Fifth Circuit.


Dated: November 16, 2023                         /s/ David H. Thompson
                                                 David H. Thompson

                                                 Counsel for Plaintiffs-Appellees
                                                 Jennifer VanDerStok, Michael G.
                                                 Andren, Tactical Machining, LLC,
                                                 and Firearms Policy Coalition, Inc.




                                          iii
          Case: 23-10718             Document: 212             Page: 6       Date Filed: 11/16/2023




                                        TABLE OF CONTENTS

                                                                                                                 Page

CERTIFICATE OF INTERESTED PERSONS ..........................................................i

INTRODUCTION ..................................................................................................... 1

ARGUMENT ............................................................................................................. 3

CONCLUSION .......................................................................................................... 8

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF SERVICE




                                                          iv
          Case: 23-10718   Document: 212       Page: 7    Date Filed: 11/16/2023




      Plaintiffs-Appellees Jennifer VanDerStok, Michael G. Andren, Tactical

Machining, LLC (“Tactical Machining”), and Firearms Policy Coalition, Inc., and

Intervenor Plaintiffs-Appellees BlackHawk Manufacturing Group, Inc., d/b/a 80

Percent Arms (“BlackHawk”), Defense Distributed, Second Amendment

Foundation, Inc., and Not An LLC d/b/a JSD Supply (collectively, “Appellees”),

respectfully request that the Court immediately issue its mandate in this appeal so

that the district court may promptly exercise jurisdiction over this case. In the

alternative, Appellees respectfully request that the Court issue its mandate if no

petition for panel rehearing or rehearing en banc is filed within seven days of the

issuance of its order determining this motion.

      Intervenor Plaintiff-Appellee Polymer80, Inc. consents to this motion.

Defendants-Appellants take no position on this motion.

      In support of this joint motion, Appellees state:

                                INTRODUCTION

      1.      On November 9, 2023, this Court affirmed in part and vacated and

remanded in part the judgment of the district court. The Court affirmed the district

court’s judgment holding unlawful the two challenged portions of ATF’s Final Rule 1:

“(1) ATF’s proposed definition of ‘frame or receiver’ including incomplete frames



      1
       Definition of “Frame or Receiver” and Identification of Firearms, 87 Fed.
Reg. 24652 (Apr. 26, 2022).

                                           1
        Case: 23-10718      Document: 212       Page: 8    Date Filed: 11/16/2023




and receivers; and (2) ATF’s proposed definition of ‘firearm’ including weapon parts

kits.” VanDerStok v. Garland, No. 23-10718, 2023 WL 7403413, at *5 (5th Cir. Nov.

9, 2023). The Court, however, vacated the district court’s vacatur order vacating the

entire Final Rule (i.e., not just the two challenged provisions) and remanded to the

district court for further consideration of the remedy, “considering this Court’s

holding on the merits.” Id. at *12.

      2.     Although this Court vindicated Appellees’ challenge to the relevant

portions of the Final Rule, determining them to be unlawful, Appellees will not

obtain any effective relief until this Court issues its mandate.

      3.     As this Court well knows, the district court will not reacquire

jurisdiction over this case until this Court issues its mandate. See United States v.

Cook, 592 F.2d 877, 880 (5th Cir. 1979); see also Griggs v. Provident Consumer

Disc. Co., 459 U.S. 56, 58 (1982) (“The filing of a notice of appeal is an event of

jurisdictional significance—it confers jurisdiction on the court of appeals and divests

the district court of its control over those aspects of the case involved in the appeal.”).

In this case, because the United States is a party, that mandate will not issue until

January 2, 2024, fifty-four days from the date of this Court’s opinion. See FED. R.

APP. P. 40(a), 41(b); see also Dkt. No. 208 (“Mandate issue date is 01/02/2024”).

      4.     The Final Rule is inflicting irreparable harm each day that the

challenged portions that this Court held unlawful remain operative. Specifically, the


                                            2
        Case: 23-10718     Document: 212       Page: 9   Date Filed: 11/16/2023




Final Rule is inflicting such severe economic harm on Defense Distributed and

BlackHawk as to threaten their existence, including massive compliance costs for

Defense Distributed, and Defense Distributed’s and BlackHawk’s economic harms

cannot later be recovered as monetary damages due to sovereign immunity.

      5.     Accordingly, Appellees respectfully request that the Court immediately

issue its mandate in this appeal or, in the alternative, order that its mandate shall

issue if no petition for panel rehearing or rehearing en banc is filed within seven days

of the issuance of its order determining this motion.

                                    ARGUMENT

      6.     Under the Federal Rules of Appellate Procedure, “[t]he court’s mandate

must issue 7 days after the time to file a petition for rehearing expires,” but “[t]he

court may shorten or extend the time by order.” FED. R. APP. P. 41(b). One instance

in which the circuit courts of appeals are most likely to expedite issuance of the

mandate is where “[t]he interests of justice require that the district court’s judgment

be enforced immediately.” DAVID G. KNIBB, FEDERAL COURT OF APPEALS MANUAL

§ 34:12 (7th ed. May 2023 update) (citing Ninth Circuit General Order 4.6(b)). This

Court has previously shortened the time for issuance of its mandate, including

ordering that it shall issue “forthwith,” see, e.g., Gohmert v. Pence, 832 F. App’x

349, 350 (5th Cir. 2021) (per curiam); League of United Latin Am. Citizens, Dist. 19

v. City of Boerne, 675 F.3d 433, 441 (5th Cir. 2012); Crosby v. La. Health Serv. &


                                           3
       Case: 23-10718     Document: 212       Page: 10   Date Filed: 11/16/2023




Indem. Co., 647 F.3d 258, 264 (5th Cir. 2011), “[i]n light of the exigencies of th[e]

situation,” see, e.g., Larbie v. Larbie, 690 F.3d 295, 312 (5th Cir. 2012) (in case

involving a petition under the Hague Convention seeking the return of a child, this

Court ordered that “[i]n light of the exigencies of this situation, we order that the

mandate shall issue if no petition for panel rehearing or rehearing en banc is filed

within seven days of the issuance of this opinion”), abrogated on other grounds by

Smith v. Smith, 976 F.3d 558, 561 (5th Cir. 2020); Hernandez v. Garcia Pena, 820

F.3d 782, 790 (5th Cir. 2016).

      7.     There is good cause for this Court to exercise its discretion to shorten

the time for issuing the mandate in this case. Absent an order to expedite the issuance

of the mandate, the mandate in this case may not issue until January 2, 2024, fifty-

four days from the date of this Court’s opinion. See FED. R. APP. P. 40(a), 41(b). But

each day that the challenged portions of the Final Rule remain operative, the Final

Rule is inflicting irreparable harm. Accordingly, this Court should expedite the

issuance of its mandate to prevent the continued infliction of that irreparable harm.

      8.     “In general, a harm is irreparable where there is no adequate remedy at

law, such as monetary damages.” Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir.

2011). But an economic injury may be irreparable for “two independent reasons.”

Wages & White Lion Invs., LLC v. FDA, 16 F.4th 1130, 1142 (5th Cir. 2021). First,

“substantial financial injury may be sufficient to show irreparable injury,” such as


                                          4
       Case: 23-10718      Document: 212       Page: 11   Date Filed: 11/16/2023




where the “financial injury threatens the very existence of [plaintiff’s] business.” Id.

(internal quotation marks and citations omitted); see also Atwood Turnkey Drilling,

Inc. v. Petroleo Brasileiro, S.A., 875 F.2d 1174, 1179 (5th Cir. 1989); Tri-State

Generation & Transmission Ass’n v. Shoshone River Power, Inc., 805 F.2d 351, 356

(10th Cir. 1986) (“A threat to trade or business viability may constitute irreparable

harm.”); John B. Hull, Inc. v. Waterbury Petrol. Prods., Inc., 588 F.2d 24, 28–29 (2d

Cir. 1978) (“A threat to the continued existence of a business can constitute

irreparable injury.”); Milsen Co. v. Southland Corp., 454 F.2d 363, 367 (7th Cir.

1971) (holding that “plaintiffs have no adequate remedy at law and will be

irreparably harmed if the injunction does not issue, because they will lose their stores

and may not be able to finance the trial on their legal claims if they lose their

businesses now”). Second, economic injuries constitute irreparable harm where “the

costs are likely unrecoverable,” usually because “federal agencies generally enjoy

sovereign immunity for any monetary damages.” Wages & White Lion Invs., LLC,

16 F.4th at 1142. Furthermore, “complying with a regulation later held invalid almost

always produces the irreparable harm of nonrecoverable compliance costs.” Texas v.

EPA, 829 F.3d 405, 433 (5th Cir. 2016) (quoting Thunder Basin Coal Co. v. Reich,

510 U.S. 200, 220–21 (1994) (Scalia, J., concurring in part and concurring in the

judgment)). Under these principles, Defense Distributed and BlackHawk are




                                           5
       Case: 23-10718     Document: 212       Page: 12   Date Filed: 11/16/2023




suffering irreparable harm each day that the Final Rule’s challenged provisions

remain in effect.

      9.     Defense Distributed is a producer and seller of the items at issue in this

case. Decl. of Cody Wilson ¶¶ 11–14, VanDerStok v. Garland, No. 4:22-cv-691

(N.D. Tex. Jan. 12, 2023), ECF No. 164-1. Solely because of the Final Rule, Defense

Distributed ceased dealing in these items, a critical aspect of its business that

accounted for nearly one-fifth of monthly revenues. Id. ¶¶ 12–13. Consequently,

Defense Distributed has suffered immense damages that imminently threaten

Defense Distributed’s continued existence, including lost revenues of at least

$350,000; lost reputation and good will; interruption in relationships with vendors

across Defense Distributed’s supply chain, including payment processers and e-

commerce companies; and massive compliance costs. Id. ¶ 14. The Final Rule has

also harmed Defense Distributed by striking fear into its customers and business

partners. Id. ¶¶ 13–14. Without relief from the Final Rule, Defense Distributed will

likely be forced to lay off workforce, refund customers, and ultimately dissolve,

resulting in the cessation of its business. Id. ¶ 15. Accordingly, Defense Distributed

has demonstrated irreparable harm: it faces a “substantial financial injury” that is so

great as to “threaten[ ] the very existence of [Defense Distributed’s] business,”

Texas, 829 F.3d at 433–34, and has suffered economic harms that cannot be




                                          6
       Case: 23-10718      Document: 212       Page: 13   Date Filed: 11/16/2023




recovered later as monetary damages, see Wages & White Lion Invs., LLC, 16 F.4th

at 1142; Texas, 829 F.3d at 433.

      10.    BlackHawk is also suffering irreparable harm each day that the Final

Rule’s challenged provisions remain in effect. Nearly 100% of BlackHawk’s

business consists of producing and selling the items at issue in this case. Decl. of

Daniel Lifschitz ¶ 8, VanDerStok v. Garland, No. 4:22-cv-691 (N.D. Tex. Oct. 20,

2022), ECF No. 103-1 (“Lifschitz Decl.”). Out of fear of exposing itself to potential

criminal liability under the Final Rule, however, BlackHawk discontinued all sales

of certain products at issue in this case. Id. ¶ 11. While preliminary injunctive relief

afforded BlackHawk leeway to offer a broader selection of products and purchase

options for a time, see VanDerStok v. BlackHawk Mfg. Grp. Inc., 639 F. Supp. 3d

722 (N.D. Tex. 2022), that injunctive relief no longer exists. Consequently,

BlackHawk now again suffers immense damages that threaten BlackHawk’s

continued existence, including a precipitous drop in sales, loss of customer goodwill,

an inability to sell its unique, patented jig, and interruption in relationships with

vendors across BlackHawk’s supply chain, including payment processers and e-

commerce companies. Lifschitz Decl. ¶¶ 15–18. Accordingly, BlackHawk has

demonstrated irreparable harm: it faces a “substantial financial injury” that is so

great as to “threaten[ ] the very existence of [BlackHawk’s] business,” Texas, 829

F.3d at 433–34, and has suffered economic harms that cannot be recovered later as


                                           7
       Case: 23-10718       Document: 212       Page: 14   Date Filed: 11/16/2023




monetary damages, see Wages & White Lion Invs., LLC, 16 F.4th at 1142; Texas, 829

F.3d at 433.

      11.      The Final Rule’s effect on Tactical Machining’s business illustrates the

imminent, concrete nature of the irreparable harm Defense Distributed, BlackHawk,

and others are experiencing. Tactical Machining recently announced that it would be

ceasing its operations due to “unconstitutional laws being enforced by the current

administration” that created insurmountable obstacles to Tactical Machining’s

business. See Rob Romano (@2Aupdates), X (Oct. 27, 2023, 12:07 PM),

https://bit.ly/3ucU2ng. The continued enforcement of the Final Rule’s provisions

that this Court determined to be unlawful unfortunately caused Tactical Machining

to “bow out” of business. Id. 2

                                   CONCLUSION

      For the foregoing reasons, the Court should immediately issue the mandate or,

in the alternative, issue its mandate if no petition for panel rehearing or rehearing en

banc is filed within seven days of the issuance of its order determining this motion.




      2
         Given the numerous other Plaintiffs-Appellees with standing, see
VanDerStok v. Garland, No. 4:22-cv-691, 2023 WL 4539591, at *9–12 (N.D. Tex.
June 30, 2023), aff’d in part and vacated in part on other grounds, No. 23-10718,
2023 WL 7403413 (5th Cir. Nov. 9, 2023), changes to Tactical Machining’s
operations do not affect the Court’s jurisdiction over this action.

                                            8
     Case: 23-10718    Document: 212       Page: 15   Date Filed: 11/16/2023




Dated: November 16, 2023                   Respectfully submitted,

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                                       9
     Case: 23-10718    Document: 212        Page: 16   Date Filed: 11/16/2023




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                                       10
       Case: 23-10718       Document: 212   Page: 17   Date Filed: 11/16/2023




                      CERTIFICATE OF COMPLIANCE

      I certify that this motion complies with the type-volume limitation of FED. R.

APP. P. 27(d)(2)(A) because it contains 1,895 words, excluding the parts exempted

by FED. R. APP. P. 32(f).

      This motion also complies with the typeface and type style requirements of

FED. R. APP. P. 27(d)(1)(E) and 32(a)(5)–(6) because it has been prepared in a

proportionally spaced typeface using Microsoft Word for Microsoft 365 (Version

2212) in Times New Roman 14-point font.

      I further certify under 5th Cir. R. 27.4 that counsel for Plaintiffs-Appellees

Jennifer VanDerStok, Michael G. Andren, Tactical Machining, LLC, and Firearms

Policy Coalition, Inc. has contacted all other non-joining parties concerning their

position on this joint motion, and Intervenor Plaintiff-Appellee Polymer80, Inc.

consents to this motion, and Defendants-Appellants take no position on this motion.


Dated: November 16, 2023
                                              /s/ David H. Thompson
                                              David H. Thompson

                                              Counsel for Plaintiffs-Appellees
                                              Jennifer VanDerStok, Michael G.
                                              Andren, Tactical Machining, LLC,
                                              and Firearms Policy Coalition, Inc.
      Case: 23-10718      Document: 212      Page: 18    Date Filed: 11/16/2023




                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of Court

for the United States Court of Appeals for the Fifth Circuit on November 16, 2023,

by using the appellate CM/ECF system and that service was accomplished on all

counsel of record by the appellate CM/ECF system.



Dated: November 16, 2023

                                              /s/ David H. Thompson
                                              David H. Thompson

                                              Counsel    for    Plaintiffs-Appellees
                                              Jennifer VanDerStok, Michael G.
                                              Andren, Tactical Machining, LLC, and
                                              Firearms Policy Coalition, Inc.
